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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF DELAWARE




           Unwired Global Systems LLC,                                  Case No.

                  Plaintiff,                                            Patent Case

                  v.                                                    Jury Trial Demanded

           Telit Wireless Solutions, Inc. ,

                  Defendant.



                                 COMPLAINT FOR PATENT INFRINGEMENT

       1.        Plaintiff Unwired Global Systems LLC (“Plaintiff”), through its attorneys,

complains of Telit Wireless Solutions, Inc. (“Defendant”), and alleges the following:

                                                  PARTIES

       2.        Plaintiff Unwired Global Systems LLC is a corporation organized and existing

under the laws of Delaware that maintains its principal place of business at 261 West 35th St,

Suite 1003 New York, NY 10001.

       3.        Defendant Telit Wireless Solutions, Inc. is a corporation organized and existing

under the laws of Delaware that maintains an established place of business at 5425 Page Rd Ste

120 Durham, NC, 27703.

                                               JURISDICTION

       4.        This is an action for patent infringement arising under the patent laws of the

United States, Title 35 of the United States Code.

       5.        This Court has exclusive subject matter jurisdiction under 28 U.S.C. §§ 1331 and

1338(a).
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        6.      This Court has personal jurisdiction over Defendant because it has engaged in

systematic and continuous business activities in this District and is incorporated in this District’s

state. As described below, Defendant has committed acts of patent infringement giving rise to

this action within this District.

                                                    VENUE

        7.      Venue is proper in this District under 28 U.S.C. § 1400(b) because Defendant has

an established place of business in this District. In addition, Defendant has committed acts of

patent infringement in this District, and Plaintiff has suffered harm in this district.

                                               PATENT-IN-SUIT

        8.      Plaintiff is the assignee of all right, title and interest in United States Patent No.

8,488,624 (the “Patent-in-Suit”); including all rights to enforce and prosecute actions for

infringement and to collect damages for all relevant times against infringers of the Patent-in-Suit.

Accordingly, Plaintiff possesses the exclusive right and standing to prosecute the present action

for infringement of the Patent-in-Suit by Defendant.

                                              THE ’624 PATENT

        9.      The ’624 Patent is entitled “Method and apparatus for providing an area network

middleware interface,” and issued 2013-07-16. The application leading to the ’624 Patent was

filed on 2010-09-22. A true and correct copy of the ’624 Patent is attached hereto as Exhibit 1

and incorporated herein by reference.

                              COUNT 1: INFRINGEMENT OF THE ’624 PATENT

        10.     Plaintiff incorporates the above paragraphs herein by reference.

        11.     Direct Infringement. Defendant has been and continues to directly infringe one

or more claims of the ’624 Patent in at least this District by making, using, offering to sell,

selling and/or importing, without limitation, at least the Defendant products identified in the
                                                  2
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charts incorporated into this Count below (among the “Exemplary Defendant Products”) that

infringe at least the exemplary claims of the ’624 Patent also identified in the charts incorporated

into this Count below (the “Exemplary ’624 Patent Claims”) literally or by the doctrine of

equivalents. On information and belief, numerous other devices that infringe the claims of the

’624 Patent have been made, used, sold, imported, and offered for sale by Defendant and/or its

customers.

       12.     Defendant also has and continues to directly infringe, literally or under the

doctrine of equivalents, the Exemplary ’624 Patent Claims, by having its employees internally

test and use these Exemplary Products.

       13.     Actual Knowledge of Infringement. The service of this Complaint, in

conjunction with the attached claim charts and references cited, constitutes actual knowledge of

infringement as alleged here.

       14.     Despite such actual knowledge, Defendant continues to make, use, test, sell, offer

for sale, market, and/or import into the United States, products that infringe the ’624 Patent. On

information and belief, Defendant has also continued to sell the Exemplary Defendant Products

and distribute product literature and website materials inducing end users and others to use its

products in the customary and intended manner that infringes the ’624 Patent. See Exhibit 2

(extensively referencing these materials to demonstrate how they direct end users to commit

patent infringement).

       15.     Induced Infringement. At least since being served by this Complaint and

corresponding claim charts, Defendant has actively, knowingly, and intentionally continued to

induce infringement of the ’624 Patent, literally or by the doctrine of equivalents, by selling




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Exemplary Defendant Products to their customers for use in end-user products in a manner that

infringes one or more claims of the ’624 Patent.

        16.     Exhibit 2 includes charts comparing the Exemplary ’624 Patent Claims to the

Exemplary Defendant Products. As set forth in these charts, the Exemplary Defendant Products

practice the technology claimed by the ’624 Patent. Accordingly, the Exemplary Defendant

Products incorporated in these charts satisfy all elements of the Exemplary ’624 Patent Claims.

        17.     Plaintiff therefore incorporates by reference in its allegations herein the claim

charts of Exhibit 2.

        18.     Plaintiff is entitled to recover damages adequate to compensate for Defendant's

infringement.

                                                 JURY DEMAND

        19.     Under Rule 38(b) of the Federal Rules of Civil Procedure, Plaintiff respectfully

requests a trial by jury on all issues so triable.

                                             PRAYER FOR RELIEF

        WHEREFORE, Plaintiff respectfully requests the following relief:

        A.      A judgment that the ’624 Patent is valid and enforceable

        B.      A judgment that Defendant has infringed directly and indirectly one or more

                claims of the ’624 Patent;

        C.      An accounting of all damages not presented at trial;

        D.      A judgment that awards Plaintiff all appropriate damages under 35 U.S.C. § 284

                for Defendant's continuing or future infringement, up until the date such judgment

                is entered with respect to the ’624 Patent, including pre- or post-judgment interest,

                costs, and disbursements as justified under 35 U.S.C. § 284;


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      E.      And, if necessary, to adequately compensate Plaintiff for Defendant's

              infringement, an accounting:

               i.   that this case be declared exceptional within the meaning of 35 U.S.C. § 285

                    and that Plaintiff be awarded its reasonable attorneys fees against Defendant

                    that it incurs in prosecuting this action;

             ii.    that Plaintiff be awarded costs, and expenses that it incurs in prosecuting

                    this action; and

             iii.   that Plaintiff be awarded such further relief at law or in equity as the Court

                    deems just and proper.


Dated: October 17, 2023                       Respectfully submitted,

                                              /s/ John C. Phillips, Jr.
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